        Case: 3:20-cv-00020-wmc Document #: 8 Filed: 10/04/21 Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

RAEQUON D. ALLEN,

        Petitioner,
                                                        Case No. 20-cv-20-wmc
   v.

UNITED STATES OF AMERICA,

        Respondent.


                           JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

respondent United States of America against petitioner Raequon D. Allen dismissing

Allen’s petition under 28 U.S.C. § 2255 for lack of authorization as a second or

successive application.




        s/ K. Frederickson, Deputy Clerk                   October 4, 2021
        Peter Oppeneer, Clerk of Court                          Date
